Case 9:16-cv-81798-DMM Document 107 Entered on FLSD Docket 03/19/2018 Page 1 ofHH
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                 Case: 17-14827 Date Filed: 03/16/2018 Page: 1
                                                                                          Mar 16, 2018

                             UNITED STATES COURT OF APPEALS                                            MIAMI
                                FOR THE ELEVENTH CIRCUIT
                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                              56 Forsyth Street, N.W.
                                              Atlanta, Georgia 30303

   David J. Smith                                                                       For rules and forms visit
   Clerk of Court                                                                       www.ca11.uscourts.gov


                                             March 16, 2018

   Steven M. Larimore
   U.S. District Court
   400 N MIAMI AVE
   MIAMI, FL 33128-1810

   Appeal Number: 17-14827-AA
   Case Style: TTT Foods Holding Company, LLC v. Beatrice Namm, et al
   District Court Docket No: 9:16-cv-81798-DMM

   The enclosed copy of the Clerk's Entry of Dismissal for failure to prosecute in the above
   referenced appeal is issued as the mandate of this court. See 11th Cir. R. 41-4. Pursuant to 11th
   Cir. R. 42-2(c) and 42-3(c), when an appellant fails to timely file or correct a brief or appendix,
   the appeal shall be treated as dismissed on the first business day following the due date. This
   appeal was treated as dismissed on 03/07/2018.

   Counsel and pro se parties are advised that pursuant to Fed.R.App.P. 25(a)(2)(A), a motion to set
   aside the dismissal and remedy the default "is not timely unless the clerk receives the papers
   within the time fixed for filing."

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Tonya L. Searcy, AA/lt
   Phone #: (404) 335-6180

   Enclosure(s)




                                                               DIS-2CIV Letter and Entry of Dismissal
Case 9:16-cv-81798-DMM Document 107 Entered on FLSD Docket 03/19/2018 Page 2 of 2
                 Case: 17-14827 Date Filed: 03/16/2018 Page: 2 of 2


                         IN THE UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT

                                          ______________

                                         No. 17-14827-AA
                                         ______________

   TTT FOODS HOLDING COMPANY, LLC,
   a Florida Limited Liability Company,

                                                    Plaintiff - Appellee,

   versus

   BEATRICE NAMM,
   an individual,
   JONATHAN NAMM,
   an individual,
   DELUXE GOURMET SPECIALTIES LLC,
   a New Jersey Limited Liability Company,

                                               Defendants - Appellants.
                         __________________________________________

                            Appeal from the United States District Court
                                for the Southern District of Florida
                         __________________________________________

   ENTRY OF DISMISSAL: Pursuant to the 11th Cir.R. 42-2(c), this appeal is hereby
   DISMISSED for want of prosecution because the appellant Deluxe Gourmet Specialties LLC,
   Beatrice Namm and Jonathan Namm has failed to file an appellant's brief within the time fixed
   by the rules, effective March 16, 2018.

                                         DAVID J. SMITH
                              Clerk of Court of the United States Court
                                 of Appeals for the Eleventh Circuit

                              by: Tonya L. Searcy, AA, Deputy Clerk

                                                            FOR THE COURT - BY DIRECTION
